AO 442 (Rev. 11/11) Arrest Warrant



                                         United States District Court
                                                                 for the

                                                        District of Massachusetts


                            United States of America
                                         V.

                   CARLOS ACERO PADILLA a/k/a Charly                       Case No. 18-10293-WGY


                                                                                                                 >
                             Defendant

                                                       ARREST WARRANT                                            W
To:       Any authorized law enforcement officer
                                                                                                                 o
          YOU ARE COMMANDED toarrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to bearrested)        CARLOS ACERO PADILLA                                                                    '
who is accused of an offense or violation based on the following document filedwiththe court.

• Indictment        ^ Superseding Indictment   • Information • Superseding Information • Complaint
• Probation Violation Petition   • Supervised Release Violation Petition • Violation Notice • Order ofthe Court
This offense is briefly described as follows:
   CONSPIRACY TO DISTRIBUTE AND POSSESS CARFENTANIL IN VIOLATION OF 21 U.S.C. 846




 Date:          03/06/2019
                                                                                                     lekMhJr-
                                                                                          Issuing officer's signature


 City and state:        BOSTON, MASSACHUSEI IS
                                                                              ^             Printed name andtitle        (

                                                                 Return


           This warrant was received on (date)                         , and the person was arrested on (date)
 at (city and state)


 Date:
                                                                                         Arresting officer's signature



                                                                                            Printed name and title
AO 442 (Rev. 11/11) Anest Warrant



                                       United States District Court
                                                            for the

                                                   District of Massachusetts


                  United States ofAmerica
                               V.
              ANTON PETROV KULKIN a/k/a                               CaseNo. 18-10293-WGY




                           Defendant

                                                ARREST WARRANT

To:      Any authorized lawenforcement officer

         YOU ARE COMMANDED to arrest andbring before a United States magistrate judge without unnecessary delay
(name ofperson tobe arrested) ANTON PETROV KULKIN                                                                   *
who is accused of an offense or violation based on the following document filed with the court:

• Indictment           Superseding Indictment   • Information      O Superseding Information O Complaint
• Probation Violation Petition    • Supervised Release Violation Petition  • Violation Notice • Order ofthe Court
This offenseis brieflydescribed as follows:
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Date:          03/06/2019
                                                                                     Issuing officer'ssignature


City and state:       BOSTON, MASSACHUSETTS
                                                                               (       Printedname and title

                                                            Return

          This warrant was received on (date)                     , and the person was arrested on (date)
at (cityand state)


 Date:
                                                                                    Arresting officer's signature



                                                                                       Printed none and title
